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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    IN RE UBER TECHNOLOGIES, INC.
    SHAREHOLDER DERIVATIVE                         C.A. No. 24-00403-MN
                                                   (consolidated with C.A. No. 24-00758-
    LITIGATION                                     MN)


            STIPULATION AND ORDER FOR VOLUNTARY DISMISSAL
        PURSUANT TO FED. R. CIV. P. 41(a) AND 23.1(c) WITHOUT PREJUDICE

        Pursuant to Federal Rules of Civil Procedure 23.1(c) and Rule 41(a), the Parties1 to this

action (the “Derivative Action”), by and through their undersigned counsel, hereby stipulate as

follows:

        WHEREAS, on February 11, 2025, the Defendants filed a motion to dismiss the second

amended complaint in the Derivative Action;

        WHEREAS, the Parties have further met and conferred, and have agreed to voluntarily

dismiss this Derivative Action on the terms listed below; and

        WHEREAS, the Parties respectfully submit that contemporaneous notice to shareholders

concerning the dismissal is unnecessary to protect the interests of Uber Technologies, Inc. or its

shareholders for the following reasons: (i) Plaintiffs seek dismissal without prejudice; (ii) there

has been no settlement or compromise between the Parties nor attempts to seek such; (iii) there

has been no collusion among the Parties; and (iv) neither Plaintiffs nor their counsel have received

nor will receive any consideration from Defendants for the dismissal;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the




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  “Parties” refers to plaintiffs Feghali Foods Inc. PSP and Rohit Jain (“Plaintiffs”) and the
individual defendants Dara Khosrowshahi, Ronald Sugar, Ursula Burns, Wan Ling Martello, John
Thain, David Trujillo, Amanda Ginsberg, Robert Eckert, Revathi Advaithi, Alexander Wynaendts,
Yasir Al-Rumayyan, Nikki Krishnamurthy, and Nelson Chai, along with nominal defendant Uber
Technologies, Inc. (“Defendants”).
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undersigned counsel for the respective Parties, subject to approval of the Court, as follows:

       1.      This Derivative Action is dismissed without prejudice.

       2.      Plaintiffs and Defendants shall each bear their owns costs and attorneys’ fees

incurred in this Derivative Action.

       3.      Notice of this dismissal to shareholders is not required.

       Respectfully submitted on this 25th day of March 2025.

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 Telephone: (202) 508-8000                        Nominal Defendant Uber Technologies,
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 Of Counsel for Nominal Defendant Uber
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 Dated: March 25, 2025


IT IS SO ORDERED this 26th day of March 2025.


                                     ________________________________________
                                     The Honorable Maryellen Noreika
                                     United States District Judge




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